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Exhibit B
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

PAUL R.F. SCHUMACHER,

Plaintiff,
v, Case No, 4:18-CV-00436 |
CAPITAL ADVANCE SOULTIONS DEFENDANT CHARLES BETTA’S
LLC, CHARLES BETTA AND DAN ANSWERS TO INTERROGATORIES
LOGAN, |

Defendants,

TO: Paul R.F, Schumacher

Defendant Charles Betta, by and through his attorneys, Kent & McBride, P.C., hereby
provides Answers to Plaintiffs Interrogatories as set forth below. These responses are made
without waiver of, and with preservation of, the following:

I, All objections as to competency, relevancy, materiality, privilege and admissibility of the
responses and the subject matter thereof as evidence for any purposes in any further
proceeding in this action (including the trial of this action) and any other action;

2. The right to object to the use of any such responses, or the subject matter thereof, on any
ground in any further proceeding of this action (including the trial of this action) and any
other action;

3, The right to object on any ground at any time to a demand or request for further response
to plaintiff's interrogatories, or any other interrogatories or document requests, or other
discovery proceedings involving or relating to the subject matter of this controversy; and

4, The right at any time to revise, correct, add to, supplement or clarify any of the responses
contained herein.

5, In the event any responses and/or documents are inadvertently produced by defendant
which fall within the attorney-client and/or attorney work-product privilege, defendant
shall not be deemed to have waived its privilege as to any such document or the information
contained therein, or the right to the attorney-client or work-product privilege as to any
other matter which arises during the course of this litigation or any subsequent proceeding.

 

 
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GENERAL OBJECTIONS

Defendant intends to abide by his obligation to produce the requested information and

documents discoverable under the Court Rules governing the United States District Court for the
Southern District of Texas, Houston Division. The specific objections described below are
intended to clarify defendant's position with respect to each interrogatory, Accordingly, where
applicable, defendant's answer to an interrogatory will include one or more of the following

objections:

A,

7

Defendant objects to each interrogatory to the extent that it calls for information that would
impose upon defendant a vexatious and undue burden on the ground that such interrogatory
is oppressive and/or is intended to harass Defendant. [Objection on the grounds of “Undue

Burden,”]

Defendant objects to each interrogatory to the extent that it is drafted in such a manner that
it is overly broad in that the interrogatory purports to seek the disclosure of information or
data which is unduly burdensome to obtain and/or can be obtained from other
documentation more readily available and without causing unnecessary expense and
hardship to defendant or seeks information not relevant to this proceeding as defined in
subpart “C” below. [Objection on the grounds of “Overbreadth.”]

Defendant objects to each interrogatory to the extent that it seeks the disclosure of
documents, information or data which is irrelevant to the subject matter of this action and
not reasonably calculated to lead to the discovery of admissible evidence. [Objection on
the grounds of “Irrelevancy.”} Objections on the grounds of Irrelevancy are specifically
interposed as to all interrogatories which seek the disclosure of information beyond the
scope of. and not relevant to the allegations contained in plaintiffs Complaint nor
reasonably calculated to lead to the discovery of evidence admissible with respect to such
allegations.

Defendant objects to each interrogatory to the extent that it requests the disclosure of
information or documents incorporating or containing information which is protected by
the attorney-client privilege, the work-product privilege or other privileges, or is material
prepared in anticipation of litigation, upon the ground that the privileged matter is exempt
from discovery, and trial preparation material may only be discoverable upon satisfaction
of the prerequisites delineated in the Rules of Court, which prerequisites have not been
satisfied, [Objection on the grounds of “Privilege,””}

Defendant objects to each interrogatory to the extent that it is vague, ambiguous or
otherwise lacks sufficient precision or particularity to permit formulation of a response,
[Objection on the grounds of “Vagueness,””]

Defendant objects to each interrogatory to the extent that it requires defendant to obtain
information from or with respect.to persons or entities over whom defendant has no control,
[Objection on the grounds of “Control.’”|

Defendant objects to each interrogatory to the extent that it seeks disclosure of information
already known or available to plaintiff or documentation in plaintiffs possession which
may be obtained more readily by plaintiff and without subjecting Defendant to

 

 
H,

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unreasonable burden and expense. [Objection on the grounds of “Availability.”]

Defendant objects to each interrogatory to the extent it seeks information that is
confidential, trade secret, subject to privacy rights or otherwise proprictary in nature, the
disclosure of which would or could harm defendant. [Objection on the grounds of
“Proprietary Information.”

Defendant objects to the manner in which plaintiff assorts and labels the interrogatory
sections. The defendant further objects to the manner in which the plaintiff defines the
terms culpability, benefit and jurisdiction. Defendant does not concede he is culpable or
received a benefit as defined by the plaintiff or under the law applicable to the issues in
this case, Furthermore, defendant maintains he is not subject to jurisdiction of this court,

DEFENDANT CHARLES BETTA’S ANSWERS TO INTERROGATORIES

Were you aware that a prerecorded message was being used to generate leads or
telemarket either by your company or other associates, or on your behalf?

ANSWER:

I am not aware of any prerecorded messages on my behalf. I am aware that CAS
selected third-party lead generation specialists to forward to CAS business to business
leads on an ala carte basis provided that they followed TCPA and state regulations
regarding telemarking, CAS did not control the vendors or determine what
businesses they called. The vendors were specifically instructed to comply with all
aspects of the TCPA and state regulations regarding telemarketing. Vendors were
required to sign an agreement to comply with federal and state regulations, See
attached.

List the venue, case number, and resolution of each federal lawsuit brought against you or
the company since 2010 until 2015 for telemarketing violations:

ANSWER:

The defendant objects to this request as overbroad and beyond the scope of
jurisdictional discovery. The fact that a lawsuit was filed against the defendants and
the disposition of that lawsuit does not address the issue of whether this court has
personal jurisdiction over the defendants in this case. Without waving the objection,
the defendant is aware that in 2015 CAS was sued in:

Ryan Alcorn vy, Capital Advance Solutions US District Court for the Southern District
of Texas 15-cv-02369, A default judgment was entered. The matter was transferred
to US District Court in New Jersey 1:7 MC-8 NLH. The matter was ultimately settled
without any admission of wrongdoing. I was not a party to this lawsuit.

After lawsuits were filed, which served beyond any doubt to make you aware of the rules
you had been violating, what steps were taken or procedures implemented to prevent
violations of those rules in the future, including: failing to screen out cell phones, use of

 

 
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prerecorded voice, the use of an ATDS as defined by the FCC, or calling numbers on the
national or state do not call registries:

ANSWER:

Defendant objects to this question as it assumes facts not established and states legal
conclusions. Without waiving the objection, I deny that | violated any rules. In order
to conduct business with CAS, an independent vendor was instructed and contracted
to comply with TCPA and state regulations regarding telemarketing. CAS was
assured by the vendor that it would take the necessary measures to insure compliance,
including proper screening of potential leads.

Describe how your marketing selection and preparation process has changed from or ts
essentially the same as that described in the Rinky Dink deposition (previously submitted
by this court), which details Mr. Betta’s personal involvement which state target selection
and a lack of compliance procedures.

ANSWER:

CAS stopped using the vendor Voiceblaze. CAS switched to using outside
independent vendors that assured CAS they would comply with TCPA and state
regulations concerning telemarketing. Furthermore, the vendor was required to
contact only businesses. After establishing a lead that was obtained in compliance
with the TCPA and state regulations, the vendor would forward the call to CAS,

Has Mr. Betta or Mr. Logan at any time represented Mr. Logan as being responsible for
legal compliance, telemarketing issues, or referred him as a legal officer for the company?

ANSWER:

Mr, Logan was the CFO for CAS. [ have not represented him to be anything other
than this.

What role(s) did Mr. Betta fill in the company during 2015-2016?
ANSWER:

I was President of the Company.

What role(s) did Mr. Logan fill in the company during 2015-2016?

ANSWER:

 
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Mr. Logan was employed as the CFO, As CFO he was responsible for financial well-
being of the company by forecasting finances and budgets. He oversaw accounting,
finance and taxation issues. He planned the financial future of the company.

IL.

1. List all of the above suits that the company failed to respond to, failed to appear for, or
which were allowed to fall into default judgment.

ANSWER:

Defendant objects to this interrogatory as being overbroad and not calculated to elicit
information regarding personal jurisdiction and whether the corporate veil was
breached. Without waiving the objection, I am aware that CAS was sued for TCPA
violations. I don’t know all of the cases that CAS failed to appear in or defaulted.
The company defended some TCPA claims and settled others. I recall that CAS
defaulted in the Redman and Alcon cases. The Alcorn case was eventually resolved
by settlement, I am also aware of Abante Rooter and Plumbing Inc. vy. CAS 4-18-cv-
01762 in California. CAS has not appeared in that matter. I don’t believe a judgment
has been entered. I am aware that a default was entered in the case of Jackson vy.
CAS DJ-026297-17 in New Jersey. This matter was settled.

2. List all sanctions levied against you or the company for the company failing to respond to
subpoenas or judgments, as well as any outstanding judgments against you or the
company which have not been satisfied.

ANSWER:

1 have not received any sanctions. It is my understanding that CAS was required to
pay attorney fees associated with opposing counsel’s efforts to obtain discovery via
subpoena in the Redman matter. A judgment was entered for some of the counsel
fees. Iam unable to recall any other judgments related to TCPA matters that have
not been satisfied.

3. Did. Mr. Betta own a percentage of the company or its profits during 2015, 2016, or
onward?

ANSWER:

Yes.

 
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4, Other than base salary, did Mr. Betta profit from the company’s activities or dissolution
either through profit sharing, bonuses, or equity ownership, including stock or partnership

options:
No.

5. Did Mr. Logan own a percentage of the company or its profits during 2015, 2016, or

onward:
ANSWER:

No.

6, Other than base salary, did Mr. Logan profit from the company’s activities or dissolution
either through profit sharing, bonuses, or equity ownership, including stock or partnership

options:
ANSWER:
No.

7. List the legal name and address and ownership percentage of every person who was part
owner of the company in 2015, 2016, 2017 and 2018, until dissolution.

ANSWER:

Defendant objects to this interrogatory as being irrelevant and not calculated to elicit
information regarding whether the court has personal jurisdiction over the
defendants in this case, and whether these defendants breached the corporate veil,
Without waiving the objection, I was an owner of the business in 2015, 2016, 2017 and
2018, Dan Logan was not an owner of the business.

8, List the legal name and address of every person who benefited financially from the profits
made by the company in the years 2015-2016 or from its dissolution.

ANSWER:

 
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IIT.

The defendant objects to this interrogatory as overbroad and vague. The defendant
alsoobjects to the extent this interrogatory seeks information unrelated to the
defendants sued in this case. Without waiving the objection, I did not receive any
benefit from the company other than to receive a salary. | am not aware of anyone
else who received a benefit. The company has not yet filed for dissolution.

What is the current state of the company’s dissolution, and what was its status when this
lawsuit was filed?

ANSWER;

The company shut down in April of 2017. At that time the entire Atlantic City office
was closed, All company employees were laid off. The company has not yet filed for

dissolution.

How many contacts (calls, letters, other means of direct contact) were made by Capital
Advance employees or direct contractors to Texas area phone numbers or with Texas
addresses during the years 2015-2016? (If more than a hundred, an cstimate to the nearest
order of magnitude will suffice).

ANSWER:

I did not call or contact anyone in Texas, nor did I ask anyone to contact anyone in
Texas on my behalf. CAS employees did not call Texas residents to generate
business. Third-party lead generation specialists called Texas businesses and
forwarded CAS business to business leads on an ala carte basis. The outside vendor
assured CAS that it complied with the TCPA and local telemarketing rules. The
vendor implemented technology and other measures to screen those it called.

How many customers did the business have during the years 2015-2016 in the state of
‘Texas?

ANSWER:

I don’t know the answer to this question, nor do I possess documents that would
enable me to provide this information.

 
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3. How many contacts (as above) were made by other associates to Texas area phone
numbers or with Texas addresses during the years 2015-2016? (If more than a hundred,
an estimate to the nearest order of magnitude will suffice).

ANSWER:

I don’t know the answer to this question, nor do I possess documents that would
enable me to provide this information.

4, Your company’s business and marketing have been previously described by Mr. Betta as
being in all 50 states, Had that changed as of 2015 or 2016 to specifically exclude Texas?

ANSWER:

No.

5. Did you specifically include or exclude (or neither) the state of Texas in your marketing
area/strategy either internally or for your lead generation or telemarketing firms?

ANSWER:

CAS did not specifically exclude the State of Texas. However, CAS engaged in several
different methods of marketing, including: mailers, referrals, internet and radio, A
vendor that provided CAS with a lead through telemarketing was required to do so
in accordance with TCPA and state regulations.

6, List every state in which your company registered as a business with telemarketing, as
required by Texas, Florida and others.

To enable us to serve subpoenas to verify or refute your claims about no business in Texas:

1, State the name and address of cach lead generation or telemarketing firm that made
calls on the company’s behalf or handed off leads to the company via telephone during
the period 2015-2016.

2. State the name and address of each telephone service provider that your company used
for outgoing calls during the period 2015-2016 and the account number for each
account,

3. Ifany other method was used to make calls without a specific provider (such as VOIP
code), describe the nature of the method and whether it was internally or externally
developed, and by whom.

 
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ANSWER:

I don’t know the answer to this question. The third-party vendor was required
to insure that all leads forwarded to CAS were done in accordance with TCPA

and state regulations.

Texas

1. CAS hired third party lead generation specialists to forward it business to business leads
on an ala carte basis provided that they followed the TCPA and local state rules regarding
telemarketing. I am aware of two such vendors, Channel Growth located at 1525
Lakeville Dr. Ste 121 Houston, TX 77339; and First Pacific Marketing located at 1024
Bayside Dr. Suite 403 New Port Beach CA 92660.

2. CAS’ telephone carrier-was the American Telephone Company with a mailing address of
PO Box 1465, CAS did not solicit business from the phoneline associated with this
account. CAS was referred calls from third party vendors, Channel Growth and Pacific
Marketing, CAS does not possess the phone records for these third-party vendors.

3. Idon’t know the answer to this question.

 
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VERIFICATION
Charles Betta deposes and says:

Deponent is a defendant in the within action, Deponent has read the foregoing responses
to Plaintiff's Interrogatories and knows the contents thereof, that the same are true to deponent’s
knowledge or information available to deponent, except as to those matters stated to be alleged
upon information and belief, and as to those matters stated upon information and belief, deponent

believes them to be true.

Charles Betta *

Dated: ife/ey .

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
PAUL R.F, SCHUMACHER,
Plaintiff,
Vv, Case No, 4:18-CV-00436
CAPITAL ADVANCE SOULTIONS DEFENDANTS’ RESPONSE
LLC, CHARLES BETTA AND DAN
LOGAN, TO REQUEST FOR DOCUMEMNTS
Defendants,

TO: Paul R.F. Schumacher

Defendant Charles Betta and Dan Logan, by and through his attorneys, Kent & McBride,
P.C,, hereby provide Answers to Plaintiffs Request for Documents as set forth below. These
responses are made without waiver of, and with preservation of, the following:

1, All objections as to competency, relevancy, materiality, privilege and admissibility of the
responses and the subject matter thereof as evidence for any purposes in any further
proceeding in this action (including the trial of this action) and any other action;

2, The right to object to the use of any such responses, or the subject matter thereof, on any
ground in any further proceeding of this action (including the trial of this action) and any
other action;

3. The right to object on any ground at any time to a demand or request for further response
to plaintiffs interrogatories, or any other interrogatories or document requests, or other
discovery proceedings involving or relating to the subject matter of this controversy; and

4, The right at any time to revise, correct, add to, supplement or clarify any of the responses
contained herein.

5, In the event any responses and/or documents are inadvertently produced by defendant
which fall within the attorney-client and/or attorney work-product privilege, defendant
shall not be deemed to have waived its privilege as to any such document or the
information contained therein, or the right to the attorney-client or work-product privilege
as to any other matter which arises during the course of this litigation or any subsequent
proceeding,

 

 
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GENERAL OBJECTIONS

Defendant intends to abide by his obligation to produce the requested information and

documents discoverable under the Court Rules governing the United States District Court for the
Southern District of Texas, Houston Division. The specific objections described below are
intended to clarify defendant's position with respect to each interrogatory. Accordingly, where
applicable, defendant's answer to an interrogatory will include one or more of the following
objections:

A.

Defendant objects to each interrogatory to the extent that it calls for information that
would impose upon defendant a vexatious and undue burden on the ground that such
interrogatory is oppressive and/or is intended to harass Defendant. [Objection on the
grounds of “Undue Burden.”]

Defendant objects to each interrogatory to the extent that it is drafted in such a manner
that it is overly broad in that the interrogatory purports to seek the disclosure of
information or data which is unduly burdensome to obtain and/or can be obtained from
other documentation more readily available and without causing unnecessary expense
and hardship to defendant or seeks information not relevant to this proceeding as defined
in subpart “C” below. [Objection on the grounds of “Overbreadth,”}

Defendant objects to each interrogatory to the extent that it seeks the disclosure of
documents, information or data which is irrelevant to the subject matter of this action and
not reasonably calculated to lead to the discovery of admissible evidence, [Objection on
the grounds of “Irrelevancy.”| Objections on the grounds of Irrelevancy are specifically
interposed as to all interrogatories which seek the disclosure of information beyond the
scope of and not relevant to the allegations contained in plaintiff's Complaint nor
reasonably calculated to lead to the discovery of evidence admissible with respect to such
allegations,

Defendant objects to each interrogatory to the extent that it requests the disclosure of
information or documents incorporating or containing information which is protected by
the attorney-client privilege, the work-product privilege or other privileges, or is material
prepared in anticipation of litigation, upon the ground that the privileged matter is exempt
from discovery, and trial preparation material may only be discoverable upon satisfaction
of the prerequisites delineated in the Rules of Court, which prerequisites have not been
satisfied, [Objection on the grounds of Privilege.’

Defendant objects to each interrogatory to the extent that it is vague, ambiguous or
otherwise lacks sufficient precision or particularity to permit formulation of a response,
[Objection on the grounds of “Vagueness,”]

Defendant objects to each interrogatory to the extent that it requires defendant to obtain
information from or with respect to persons or entities over whom defendant has no
control, [Objection on the grounds of “Control,”"}

Defendant objects to cach interrogatory to the extent that it seeks disclosure of
information already known or available to plaintiff or documentation in plaintiff's
possession which may be obtained more readily by plaintif€ and without subjecting

 

 

 
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H.

Defendant to unreasonable burden and expense. [Objection on the grounds of
“Availability.”]

Defendant objects to each interrogatory to the extent it seeks information that is
confidential, trade secret, subject to privacy rights or otherwise proprietary in nature, the
disclosure of which would or could harm defendant. [Objection on the grounds of
“Proprietary Information.””]

Defendant objects to the manner in which plaintiff assorts and labels the interrogatory
sections. The defendant further objects to the manner in which the plaintiff defines the
terms culpability, benefit and jurisdiction. Defendant does not concede he is culpable or
received a benefit as defined by the plaintiff or under the law applicable to the issues in
this case. Furthermore, defendant maintains he is not subject to jurisdiction of this court.

DEFENDANTS RESPONSE TO DOCUMENT REQUEST

The following documents are requested to establish the veracity of the answers given to
the above questions. They should be delivered electronically to the plaintiff through
email or a download service if larger than 5 mb in size.

Format: Electronically stored tables or data should be delivered in CSV format, Other
text documents should be in a text format or searchable pdf format. Scanned document
should be in a pdf format. An index should be included to list which files comply with

which request.

A copy of the IRS form 1065 and K-1 filed by the corporation for 2015, 2016, 2017 and
2018 to establish ownership.

ANSWER:

In order to satisfy plaintiff’s demand to establish ownership, Charles Betta
stipulates that he was an owner of CAS in 2015, 2016, 2017 and 2018 as verified in
his answers to plaintiff's interrogatories. Defendant, Dan Logan verified in his
answers to interrogatories that he is not an owner. Given these admissions, the
defendant objects to this demand as moot.

A copy of the dissolution papers (if any) filed with the secretary of state.

ANSWER:

No papers have been filed at this time,

. Accall log contained a list of calls including date and time to any number in the (979) area

code during 2015 and 2016, by the company or its associates. To preserve privacy, the
exact phone number may be redacted, so long as it is clear which area code they are to.

ANSWER:

 
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The defendants do not have the requested documents. CAS relied on independent
third party vendors to provide leads in accordance with TCPA and state
regulations, CAS does not possess the phone records for these vendors,

4, A call log containing a list of calls including date and time to 979-575-0107 during 2015
and 2016.

ANSWER:

The defendants are not in possession of any call log. CAS would not have called anyone
in the area code to generate a lead. CAS relied on independent third -party vendors to
provide leads. CAS does not possess the records for these vendors.

5. A list of all payments made to Mr. Betta by the company for any reason, with dates and
reasons for payment during 2015 or 2016, or for dissolution or equity distribution any
time during or after 2015.

ANSWER:

Defendants object to this interrogatory as it overbroad, unduly burdensome and
because it requests information and documentation beyond the scope of the
jurisdictional] limits imposed by the Court’s Order. Without waiving the objection, Mr.
Betta received a salary during 2015 and 2016 for which he was paid on a biweekly basis.
Mr. Betta did not receive an equity distribution or distribution for dissolution after

2015.

6. A list of all payments made to Mr. Logan by the company for any reason, with dates and
reasons for payment during 2015 or 2016, or for dissolution or equity distribution any
time during or after 2015.

ANSWER:

Defendants object to this interrogatory as it overbroad, unduly burdensome and
request it requests information and documentation beyond the scope of the
jurisdictional limits imposed by the Court’s Order. Without waiving the objection, Mr.
Betta received a salary during 2015 and 2016 for which he was paid on a biweekly basis,
Mr. Betta did not receive an equity distribution or distribution for dissolution after
2015.

 
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Attorney for Defendant, Charles Betta

Dated: April 13, 2019

Respectfully submitted.

KENT & MCBRIDE, P.C,

By:

Wir mang

 

ChiiStopher D. Devanny, #3719
One Arin Park

1715 Highway 35, Suite 305
Middletown, New Jersey 07748
Phone: 732-326-171]

Email: cdevanny@kentmebride.com

 

 
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Sales Vendor ADAD Compliance

Capital Advance Solutions LLC (CAS) feels It is Important to follow all of the laws related to marketing to
potential clients. There exist legal restrictlon’ or prohibitions on some.forme of advertising, notably, but not
limited to, fax advertising, emall solicitation, and automated dialers/announcing devices (ADAD). As a lead
vendor to CAS you and your company have an obligation to familiarize yourselves with, keep updated on,
and comply with the various laws surrounding the use of automated dialers/announcing devices. These laws
. vary In scope and severity based on Jurisdictional differences.

We have summarized the laws and regulations of the United States and each of the Individual States
pertaining to the making of business-to-business sales calls utilizing automated dialing and announcing
devices ("ADAD”). It is extremely Important that you have the ability to segment your files to ensure
compliance. Remember, your organization, or you personally, will be held liable, and hereby agree to
indemnify and hold CAS, its officers, and employees, harmless paying all cost including CAS legal fees for
non-compliance with Federal, State, or local law, , _ ,

ADAD's have been interpreted to include any technology with the capacity to dial random or sequential
numbers, ADAD’s are regulated federally for calls to consumers, However, there are significant Federal
restrictions on the use of ADAD technology for business-to-business calls as well, (See the Telephone
Consumer Protection Act, 47 U.S.C, §227 (TCPA)), The TCPA prohibits and renders unlawful the use
of ADAD to call any mobile phone numbers without the called party's prior consent, Furthermore, many
states have enacted regulatory frameworks, which seek to protect thelr residents (often businesses and
consumers) from the annoyance of ADAD calls and to prevent ADAD-generated calls from impeding
telephone service.

CAS recommends that you seek legal advice pertaining to the operation of any ADAD equipment, This
document is not intended as a replacement of sound legal advice and the use of ADAD equipment ts entirely
your decision and responsibility,

Automated Dialer and Announcing Device (ADAD) Compliance
Please see the attached chart providing detail as to the exact restrictions each individual State imposes upon
commercial ADAD calls. However, a brief surrimary follows: ; , ,

* Inthe following states, ADAD-dellvered business-to-business sales calls are expressly forbidden
(whether according to criminal statutes or civil regulations): Arkansas (criminal), Maryland
(criminal), Mississippi (civil), North Carolina (civil), Washington (civil) and Wyoming (criminal),

* The following states allow business-to-business ADAD calls without restriction:
Alabama, Alaska, Arizona, Connecticut, Delaware, Florida, Georgia, Hawaii, Kansas,
Loulsiana, Missouri, Ohio, Oregon, South Garolina, South Dakota, Texas, Vermont, Virginia
and West Virginia,

* Several states impose various time, place and manner restrictions, These types of restrictions
tend to {imit the hours during which ADAD calls can be made (typically between 9 a.m, and 9 p.m.),
require a short period of time after hang-up for the call to be disconnected (the range tends to be
between five and thirty seconds) and mandate that the name and contact Information of the business
for whom the call is being made be provided at the start of the call, The states with some -
combination of these fairly manageable ADAD regulations are the following: Idaho, Maina,
Massachusetts, Nebraska, Nevada, New York and Rhode Island,

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» Two states require that the operator of ADAD equipment register with, or obtain a permit from,
the state, These states are: New Hampshire and Tennessee.

A number of states have Imposed onerous restrictions upon those businesses that attempt to solicit sales
through the use of business-to-business ADAD calls, Some of these states require that live operators
Introduce the recorded call, that ADAD calls can only be made to businesses with whom the caller has 4
prior relationship or has otherwise consented to receive ADAD calls, and that the ADAD equipment only

operate while It ls attended,

* — The following states require that a live operator Introduce an ADAD call, or otherwise be available
during the call: Gallfornia, Indiana and lowa,

* Three states require that ADAD calls must be introduced by a live operator unless the recipient
has previously consented to receiving such calls: New Jersey, North Dakota and Oklahoma,

* A number of states only allow ADAD calls to be made if there is a prior business relationship
between the recipient and the caller; Colorado (provided the recipient has also consented to the
ADAD calls), District of Columbia, Illinois, New Mexico and Utah,

* Express consent is required to be given by the recipient before ADAD calls can be made to
businesses In the following states: Michigan, Minnesota, Montana, and Wisconsin,

* Ohne state requires that ADAD equipment be attended: Kentucky.

Federal Prohibitions; Originally enacted in 1991 to protect consumers from growing numbers of
unregulated and harassing telemarketing calls and faxes, the TCPA regulates calls or transmissions made
using an automatic telephone dialing system (ATDS), as well as certain artificial or prerecorded voice calls,
Under the TCPA and ATDS Is any electronic device used to automate or facilitate mass communications
with consumers,

With limited exceptions, the TCPA prohibits businesses from making any “call” to a consumer's mobile. phone
without the customer's “prior express written consent" using ATDS, or artificial or prerecorded voices, The
TCPA has been interpreted to extend too many modern methods of communication, including text messages
and other applications that allow or facilitate contact with consumers. Therefore, it is Imperative that an
ATDS must not be used to place telemarketing calls, or text messages to mobile phones, or devices,
as these are acts that potential violate the TCPA, unless you have and can provide that customer's prior
express written consent that Is no more than one year old. ,

Penalties for violations of the TCPA uncapped statutory damages range from $500 to $1,500 per violation,
and potential class action litigation with exposure in millions of dollars,

Indemnification and hold harmless

By signing below, you represent that you, and your company, Is fully compliant with the foregoing and will
not violate either Federal or State law in providing marketing and sales lead services to CAS. You represent
that your Company obtained every sales lead provided to CAS In full compliance with both Federal and State
Law, :

You acknowledge that fallure to comply with the stated regulations will result in termination of your agreement

with CAS, You agree that if either CAS, its officers, or employees Is required to defend a lawsuit, or Is held
lable because of you, or your company's, violation of State, or Federal Law, you and your Company agree

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to indemnify and hold harmlass CAS, its officers and employees, This shall Include paying all casts to defend
such actlon, inclusive of all legal fees, and for any Judgment rendered if such defense Is unsuccessful, or an

amount required settling such lawsults,

Please Acknowledge receipt and understanding of the above:

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Date | \

 

 

 

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Page 3 of 3 Initial(s)

 

 

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
PAUL R.F. SCHUMACHER, )
)
Plaintiff, )
)
Vv. ) Case No. 4:18-CV-00436
)
CAPITAL ADVANCE SOULTIONS ) DEFENDANT CHARLES BETTA’S
LLC, CHARLES BETTA AND DAN ) ANSWER TO PLAINTIFEF’S SECOND
LOGAN, ) DOCUMENT REQUEST AND
) INTERROGATORIES
Defendants, )

TO: Paul R.F. Schumacher

Defendant Charles Betta, by and through his attorneys, Kent & McBride, P.C., hereby
provides Answers to Plaintiff's Second Document Request and Interrogatories as set forth below.
These responses are made without waiver of, and with preservation of, the following:

1. All objections as to competency, relevancy, materiality, privilege and admissibility of the
responses and the subject matter thereof as evidence for any purposes in any further proceeding
in this action (including the trial of this action) and any other action;

2. The right to object to the use of any such responses, or the subject matter thereof, on any
ground in any further proceeding of this action (including the trial of this action) and any other
action;

3. The right to object on any ground at any time to a demand or request for further response
to plaintiffs interrogatories, or any other interrogatories or document requests, or other
discovery proceedings involving or relating to the subject matter of this controversy; and

4, The right at any time to revise, correct, add to, supplement or clarify any of the responses
contained herein.

 

 

 
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5. In the event any responses and/or documents are inadvertently produced by defendant
which fall within the attorney-client and/or attorney work-product privilege, defendant shall not
be deemed to have waived its privilege as to any such document or the information contained
therein, or the right to the attorney-client or work-product privilege as to any other matter which
arises during the course of this litigation or any subsequent proceeding,

GENERAL OBJECTIONS

Defendant intends to abide by his obligation to produce the requested information and
documents discoverable under the Court Rules governing the United States District Court for the
Southern District of Texas, Houston Division. The specific objections described below are
intended to clarify defendant's position with respect to each interrogatory. Accordingly, where
applicable, defendant's answer to an interrogatory will include one or more of the following
objections:

A. Defendant objects to each interrogatory to the extent that it calls for information that
would impose upon defendant a vexatious and undue burden on the ground that such
interrogatory is oppressive and/or is intended to harass Defendant. [Objection on the grounds of
“Undue Burden.”]

B. Defendant objects to each interrogatory to the extent that it is drafted in such a manner
that it is overly broad in that the interrogatory purports to seek the disclosure of information or
data which is unduly burdensome to obtain and/or can be obtained from other documentation
more readily available and without causing unnecessary expense and hardship to defendant or
seeks information not relevant to this proceeding as defined in subpart “C” below. [Objection on
the grounds of “Overbreadth.”]

C, Defendant objects to each interrogatory to the extent that it seeks the disclosure of
documents, information or data which is irrelevant to the subject matter of this action and not
reasonably calculated to lead to the discovery of admissible evidence. [Objection on the grounds
of “Irrelevancy.”] Objections on the grounds of Irrelevancy are specifically interposed as to all
interrogatories which seek the disclosure of information beyond the scope of and not relevant to
the allegations contained in plaintiff's Complaint nor reasonably calculated to lead to the
discovery of evidence admissible with respect to such allegations.

D. Defendant objects to each interrogatory to the extent that it requests the disclosure of
information or documents incorporating or containing information which is protected by the
attorney-client privilege, the work-product privilege or other privileges, or is material prepared in
anticipation of litigation, upon the ground that the privileged matter is exempt from discovery,
and trial preparation material may only be discoverable upon satisfaction of the prerequisites

 

 
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delineated in the Rules of Court, which prerequisites have not been satisfied. [Objection on the
grounds of “Privilege.”

E. Defendant objects to each interrogatory to the extent that it is vague, ambiguous or
otherwise lacks sufficient precision or particularity to permit formulation of a response.
[Objection on the grounds of “Vagueness.”]

F, Defendant objects to each interrogatory to the extent that it requires defendant to obtain
information from or with respect to persons or entities over whom defendant has no control.
[Objection on the grounds of “Control.”]

G. Defendant objects to each interrogatory to the extent that it seeks disclosure of
information already known or available to plaintiff or documentation in plaintiff’s possession
which may be obtained more readily by plaintiff and without subjecting Defendant. to
unreasonable burden and expense, [Objection on the grounds of “Availability.”

H. Defendant objects to each interrogatory to the extent it seeks information that is
confidential, trade secret, subject to privacy rights or otherwise proprietary in nature, the
disclosure of which would or could harm defendant. [Objection on the grounds of “Proprietary
Information.” ]

I, Defendant objects to the manner in which plaintiff assorts and labels the interrogatory
sections, The defendant further objects to the manner in which the plaintiff defines the terms
culpability, benefit and jurisdiction. Defendant does not concede he is culpable or received a
benefit as defined by the plaintiff or under the law applicable to the issues in this case.
Furthermore, defendant maintains he is not subject to jurisdiction of this court.

DEFENDANT CHARLES BETTA’S ANSWERS TO PLAINTIFF’S SECOND
DOCUMENT REQUEST AND INTERROGATORIES

I,

1, Tn your first set of answers, you claimed that vendors were instructed and required to
comply with all federal and state laws regarding telemarketing, What steps, if any, were taken to
vet the companies for a history of such violations, or for ongoing violations they had been
committing?

ANSWER:

 
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Objection. Whether the defendant took any measures to vet a third-party vendor has
nothing to do with whether the Court may retain personal jurisdiction. Without waiving the
objection, the defendant does not concede it had an obligation to “vet” a vendor, The vendors
represented themselves as marketing experts and assured compliance with the TCPA as well as
applicable state laws regarding marketing. The vendors signed an agreement assuring
compliance. I was not aware of any violations. Furthermore, I did not preside over the vendor
selection. This decision was delegated to CAS’ Marketing Manager. The vendor was to provide
leads from qualified businesses. The vendor determined what businesses to direct its marketing
efforts to. CAS relied on the vendor to perform it services in accordance with state and local
laws.

2. Additionally, what processes, if any, were in place to audit and verify those company’s
compliance in their marketing or lead generation on behalf of CAS?

ANSWER:

Objection. Whether the defendant took any measures to audit a third-party vendor has
nothing to do with whether the whether the defendant’s alleged conduct pierces the corporate
veil to establish personal jurisdiction,

3, Were you aware that Pacific Marketing was sued by Missouri Attorney General for
violating the state telemarketing laws and they were prohibited by a judgment in that case from
marketing in Missouri prior to September 2015 (the date of the first known call to Plaintiff)?

1

ANSWER:

Objection. Whether the defendant was aware that Pacific Marketing was sued has nothing
to do with has nothing to do with whether the whether the defendant’s alleged conduct pierces
the corporate veil to establish personal jurisdiction. Furthermore, I am unaware of any phone
call made on my behalf or on the behalf of CAS to the plaintiff. Without waiving this objection,
the answer is no.

4, Were you aware that Pacific Marketing was the subject of a class action suit in January
2016 for violating federal telemarketing laws?

ANSWER:
Objection. Whether the defendant was aware that Pacific Marketing was sued has nothing

to do with whether the whether the defendant’s alleged conduct pierces the corporate veil to
establish personal jurisdiction. Without waiving this objection, the answer is no.

 
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5. If and when you became aware of these lawsuits, did you discontinue using that firm for
your lead generation at that time or were they still actively marketing on your company’s behalf
when plaintiff received the calls in violation of the national Do Not Call Registry (among the
other violations alleged)?

ANSWER:

Objection. Whether the defendant was aware that Pacific Marketing was sued has
nothing to do with whether the defendant’s alleged conduct pierces the corporate veil to establish
personal jurisdiction. Without waiving the objection, I was unaware of any lawsuits.
Furthermore, I emphatically deny that I called the plaintiff, or that anyone else called the plaintiff
on my behalf or at my direction. I further deny any knowledge of anyone calling the plaintiff on
behalf of CAS.

6. After plaintiff initially contacted you and described to Mr. Betta and Mr. Logan the
nature of the violations in the calls he had received, what steps, if any, did you take to investigate
and correct those alleged violations by the firm’s telemarketers?

ANSWER:

Objection. This interrogatory is predicated on event that did not occur, I emphatically
deny that I ever spoke to the plaintiff.

7. As plaintiff received further unlawful call on your company’s behalf after the above-
mentioned conversation, what processes were breached, if any, that had been put in place since
the complaint was given to you by plaintiff?

ANSWER:

Objection. This interrogatory assert legal conclusions and alleges facts that have not been
established. | Without waiving the objection, 1 emphatically deny ever speaking with the
plaintiff. I further deny denies that any unlawful calls were made to this plaintiff.

8, Defendants state that Mr. Logan was not represented as anything other than CFO and had
no responsibility for telemarketing practices. Why, then, was Mr. Logan included in the phone
call with Mr. Betta for Plaintiff's complaint about the telemarketing violations, and why was
Plaintiff subsequently referred (and transferred) to Mr. Logan by CAS employees when he
followed up with an additional complaint about telemarketing?

 

 

 
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ANSWER:

Objection. This interrogatory alleges facts that have not been established. Without
waiving the objection, I emphatically deny that any phone conversation took place between
myself and the plaintiff. Upon information and belief, the plaintiff never spoke with Dan
Logan,

II.

1, In the first set of questions, you were asked how many contacts were made on you and
your company’s behalf by your contractors to Texas area phone numbers. Your answer stated
that you did not call anyone. Your answer was incomplete: Based on the reports that your
vendors gave you, how many calls did they make to Texas area phone number while generating
leads for your company?

ANSWER:

The defendant objects to this interrogatory as irrelevant and not calculated to establish
jurisdiction over the defendant. The defendant denies that the Court has jurisdiction over the
defendant, a New Jersey resident, based on alleged telephone calls to plaintiff from an
independent vendor, that was not a Texas resident. Without waiving the objection, as previously
explained, the vendor placed calls in compliance with the TCPA and state laws. The vendor did
not call anyone on my behalf. I, nor anyone else that I am aware of, ever called the plaintiff.
The vendor did not provide me or CAS with a report for those it called. This defendant does not
know how many calls the vendor made.

2. In your first set of answers, you indicated that you do not have documents which would
enable you to answer the question as to how many clients you had in Texas during the years in
question, Are you contending that your client list and any backups thereof were lost or destroyed
in the intervening time between then and now?

ANSWER:

No.

3, If'so, when were such records destroyed and for what purpose other than spoliation of
evidence for the various lawsuits active against your company during this period?

 

 
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Objection. This interrogatory presumes facts not established. It is also beyond the
Court’s Order limiting interrogatories to whether the plaintiff can pierce the corporate veil to
establish personal jurisdiction. Defendant also objects to any allegation of “spoliation of
evidence” as defendant has not been requested to keep any records. Furthermore, this defendant
has not destroyed and records in an effort to conceal evidence.

ANSWER:
Yi. Document Request

The following documents are requested to establish the veracity of the answers given to
the above questions, They should be delivered electronically to the plaintiff through email or a
download service if larger than 5 mb in size.

Format: Electronically stored tables or data should be delivered in CSV format. Other
text documents should be in a text format or searchable pdf format. Scanned documents should
be in a pdf format. An index should be included to list which files comply with which request,

A, Re-request

1, A copy of the IRS form 1065 and K-1 filed by the corporation for 2015, 2016, 2017 and
2018 to establish ownership.

Your first set of replies stipulates as to Mr. Betta’s ownership and claims that this moots the
request. However, you have provided no documentation regarding the alleged ownership of Mr,
Logan, only issued a statement in denial. In addition, if Mr. Betta is the sole owner (or the
defendants together are the sole owners), this has implications to the unity of purpose and
ownership plank of the corporate veil. Therefore, this request is not moot, and it is demanded
again. (Additionally, your general and specific objections are not timely.)

If the company has or had only one owner or had a different filing structure than would require a
form 1065, then any tax form which was filed with the IRS that establishes the ownership
percentages may be substituted for the above.

ANSWER:
This defendant has already admitted ownership. This defendant also attests that Dan

Logan has never held an ownership interest in CAS. The defendant refers the plaintiff to Mr.
Logan’s response to this interrogatory regarding ownership.

 

 
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B. Follow Up Requests

Additionally, defendants attached a document purporting to be a compliance contract
with their telemarketers, However, it does not indicate what company it is for, and can at most
encompass one of the two companies specified s doing lead generation on the company’s behalf.

Therefore, as a follow up, Plaintiff requests

2. Any other contracts or documentation provided to you or your company by the
aforementioned lead generation firms regarding TCPA Compliance.

ANSWER:

The compliance agreement was signed by a representative of Pacific Marketing. Channel
Growth also executed the same agreement, The defendant does not have a copy.

3, Any documentation you will rely on to validate claims that the firms were vetted for
compliance before and while using them.

ANSWER:

Objection. Whether the defendant took any measures to vet a third-party vendor has
nothing to do with whether the Court has personal jurisdiction over the defendant because of an
alleged breach of the corporate veil. Without waiving the objection, the vendors assured CAS
that they were taking measure and using technology to insure compliance,

4, Any documentation you will rely on to validate claims that you addressed complaints of
illegal telemarketing with the lead generation firms.

ANSWER:

Objection. Whether the defendant has any documents to validate that it took measures to
address complaints has nothing to do with whether defendant’s alleged conduct pierces the
corporate veil to establish personal jurisdiction. The defendant further objects to this question
in that it presupposes facts that have not been established. Defendant further objects to the
interrogatory as it impermissibly alleges a legal conclusion that has not been established, The
defendant further object to the term “illegal telemarketing” as vague, overbroad and

 

 
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unestablished. Without waiving these objections, this defendant has not made a claim in these
answers to interrogatories the he addressed complaints of “illegal telemarketing.” I deny
commission of any illegal telemarketing. I am also unaware of any vendor committing any
illegal telemarking on CAS’ behalf. Therefore, I do not possess any documentation.

5, A list of all clients the company had in the period 2015-2016, showing each client’s state,
Relevance to limited discovery: Documents 2-4 will help to establish (or not) any claims made
by defendants that they acted in good faith to remedy their prior and ongoing alleged violations
of the telemarketing law, or whether they continued to allow illegal practices on their (or their
company’s behalf) after being put on notice by the prior lawsuits in general and by plaintiff's
first complaint specifically, as per the plaintiff's argument for piercing the corporate veil.

The last document was obvious bearing on the jurisdictional questions.

ANSWER:

Objection. This interrogatory is overbroad and unduly burdensome. Moreover, the
question does not address whether the defendant is subject to personal jurisdiction in the State of
Texas but reaches far beyond Texas. Furthermore, the question calls for a vast amount of
information that the defendant does not have the ability to gather.

The defendant further objects to the manner in which plaintiff attempts to justify his
request for documents 2-4, Whether the defendant took any measures to vet a third-party vendor
has nothing to do with whether the Court has jurisdiction over the defendant. The defendant
further objects to these requests in that they presuppose facts that have not been established,
Defendant further objects to the requests as they impermissibly reach legal conclusions that have
not been established,

 

 
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VERIFICATION
Charles Betta deposes and says:

Deponent is a defendant in the within action, Deponent has read the foregoing responses to
Plaintiff's Interrogatories and knows the contents thereof, that the same are true to deponent’s knowledge
or information available to deponent, except as to those matters stated to be alleged upon information and
belief, and as to those matters stated upon information and belief, deponent believes them to be true.

we
wv

BY: C.

Charles E

  
  

setta

 

 

 

 
